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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

 RAYMOND ANKNER,    CJA   AND
 ASSOCIATES,    INC.,     RMC
 PROPERTY & CASUALTY, LTD.,
 and RMC CONSULTANTS, LTD.,

             Plaintiffs,

 v.                                 Case No:    2:21-cv-330-JES-NPM

 UNITED STATES OF AMERICA,

             Defendant.


 CJA AND ASSOCIATES, INC.,

             Plaintiff,

 v.                                 Case No:    2:21-cv-331-JES-NPM

 UNITED STATES OF AMERICA,

             Defendant.


 RMC PROPERTY      &   CASUALTY,
 LTD.,

             Plaintiff,

 v.                                 Case No:    2:21-cv-333-JES-NPM

 UNITED STATES OF AMERICA,

             Defendant.


 RMC CONSULTANTS, LTD.,

             Plaintiff,

 v.                                 Case No:    2:21-cv-334-JES-NPM
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 UNITED STATES OF AMERICA,

              Defendant.


                             JURY INSTRUCTIONS


       Members of the jury:

       It is my duty to instruct you on the rules of law that you

 must use in deciding this case.

       When I have finished, you will go to the jury room and begin

 your discussions, sometimes called deliberations.

       Your decision must be based only on the evidence presented

 here. You must not be influenced in any way by either sympathy for

 or prejudice against anyone.

       You must follow the law as I explain it – even if you do not

 agree with the law – and you must follow all of my instructions as

 a   whole.   You   must   not   single       out   or   disregard   any   of   the

 instructions on the law.



       Preliminary Instructions

       The fact that corporations or other business entities and a

 governmental entity are involved as parties must not affect your

 decision in any way.


       Corporations, other business entities, governmental entities,

 and all other persons stand equal before the law and must be dealt

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 with as equals in a court of justice. When a corporation or other

 business entity is involved, of course, it may act only through

 people as its employees; and, in general, a corporation or other

 business entity is responsible under the law for the acts and

 statements of its employees that are made within the scope of their

 duties as employees of the company.




       As I said before, you must consider only the evidence that I

 have admitted in the case. Evidence includes the testimony of

 witnesses and the exhibits admitted. But, anything the lawyers say

 is not evidence and is not binding on you.



       You should not assume from anything I have said that I have

 any opinion about any factual issue in this case. Except for my

 instructions to you on the law, you should disregard anything I

 may have said during the trial in arriving at your own decision

 about the facts.



       Your own recollection and interpretation of the evidence is

 what matters.




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        In considering the evidence you may use reasoning and common

 sense to make deductions and reach conclusions. You should not be

 concerned about whether the evidence is direct or circumstantial.

        “Direct evidence” is the testimony of a person who asserts

 that   he    or   she   has   actual   knowledge   of   a   fact,   such   as   an

 eyewitness.

        “Circumstantial evidence” is proof of a chain of facts and

 circumstances that tend to prove or disprove a fact. There is no

 legal difference in the weight you may give to either direct or

 circumstantial evidence.



        When I say you must consider all the evidence, I do not mean

 that you must accept all the evidence as true or accurate. You

 should decide whether you believe what each witness had to say,

 and how important that testimony was. In making that decision you

 may believe or disbelieve any witness, in whole or in part. The

 number of witnesses testifying concerning a particular point does

 not necessarily matter.

        To decide whether you believe any witness I suggest that you

 ask yourself a few questions:

          •   Did the witness impress you as one who was telling
              the truth?

          •   Did the witness have any particular reason not to
              tell the truth?


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          •   Did the witness have a personal interest in the
              outcome of the case?



          •   Did the witness seem to have a good memory?



          •   Did the witness have the opportunity and ability to
              accurately observe the things he or she testified
              about?




          •   Did the witness appear to understand the questions
              clearly and answer them directly?



          •   Did the witness’s testimony        differ   from   other
              testimony or other evidence?



       You should also ask yourself whether there was evidence that

 a witness testified falsely about an important fact. And ask

 whether there was evidence that at some other time a witness said

 or did something, or did not say or do something, that was

 different from the testimony the witness gave during this trial.


       But keep in mind that a simple mistake does not mean a witness

 was not telling the truth as he or she remembers it. People

 naturally tend to forget some things or remember them inaccurately.

 So, if a witness misstated something, you must decide whether it

 was because of an innocent lapse in memory or an intentional


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 deception. The significance of your decision may depend on whether

 the misstatement is about an important fact or about an unimportant

 detail.




       When   technical    or   other   specialized      knowledge   might   be

 helpful, a person who has special training or experience in that

 field is allowed to state an opinion about the matter.              But that

 does not mean you must accept the witness’s opinion. As with any

 other witness’s testimony, you must decide for yourself whether to

 rely upon the opinion.


       When a witness is being paid for reviewing and testifying

 concerning the evidence, you may consider the possibility of bias

 and should view with caution the testimony of such witness where

 court    testimony   is   given   with     regularity    and   represents    a

 significant portion of the witness’s income.


       Burdens of Proof



         It is the responsibility of the United States to prove by a

 “preponderance of the evidence” that Plaintiffs are liable for

 penalties for promoting an abusive tax shelter.           This is sometimes

 called the “burden of proof” or the “burden of persuasion.”




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       A “preponderance of the evidence” means an amount of evidence

 that is enough to persuade you that the legal claim is more likely

 true than not true.


       If the proof fails to establish by a preponderance of the

 evidence that a Plaintiff is liable on a particular legal claim,

 you should find against the United States as to that legal claim.


       If you find the United States satisfied its burden that

 penalties apply to Raymond Ankner or CJA & Associates, Inc. or

 both, you must then determine whether the penalty amounts as to

 that party or parties is correct. The amounts are presumed to be

 correct. It would be the responsibility of Raymond Ankner and/or

 CJA & Associates, Inc. to prove by a preponderance of the evidence

 that the amounts of the respective penalties are incorrect. If

 either or both Raymond Ankner or CJA & Associates, Inc. satisfy

 their burden on their respective legal claim, you will calculate

 the appropriate amounts of the penalties. If they do not meet their

 burden on a particular legal claim, the current amount assessed as

 to that legal claim is correct and you will not need to recalculate

 it.




       When   more   than   one   legal       claim   is   involved,   you   should

 consider each legal claim separately.

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       In   deciding    whether   any       fact   has   been   proved   by   a

 preponderance of the evidence, you may consider the testimony of

 all of the witnesses, regardless of who may have called them, and

 all of the exhibits received in evidence, regardless of who may

 have produced them.




       Elements of an Abusive Tax Shelter


       The United States asserts that Plaintiffs Raymond Ankner, CJA

 & Associates, Inc., RMC Property & Casualty Co., Ltd., and RMC

 Consultants, Ltd. are liable for civil penalties under Section

 6700 of the Internal Revenue Code for promoting an abusive tax

 shelter from 2010 through 2016.




       Section 6700 of the Internal Revenue Code imposes a penalty

 on any person if:


       (1) the person organizes or assists in the organization of

       any plan or arrangement, or participates, either directly or

       indirectly, in the sale of any plan or arrangement; and


       (2) the person makes or furnishes, or causes another person

       to make or furnish, a false or fraudulent statement regarding

       tax benefits; and

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       (3) the person knows or has reason to know the statement is

       false or fraudulent; and


       (4) the statement is material.


 The   United   States   must   prove       each   of   these   elements   by   a

 preponderance of the evidence. The Court will discuss each of these

 requirements in more detail.




             “Person”


       A “person” includes natural persons, corporations, and other

 business entities.




             Organize, Assist, or Participate in Plan or Arrangement


       The first element requires the person to organize or assist

 in the organization of a plan or arrangement, or to participate

 directly or indirectly in the sale of any plan or arrangement.

 The terms “plan” and “arrangement” are broadly defined to include

 any plan or arrangement having some connection to securing a tax

 benefit.




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               False or Fraudulent Statement


        The second element requires the person to make or furnish a

  false or fraudulent statement regarding tax benefits or cause

  another person to make or furnish such a statement. The person may

  make or furnish a statement either orally or in writing, including

  by creating or providing written materials. The person may make or

  furnish a statement through an authorized employee or agent.


        A    statement   is   false   or   fraudulent         if    it    is   untrue   or

  misleading when made. A statement can be false or misleading

  because of what it says, or fails to say, or both.




        For a plan or arrangement to constitute “insurance,” it must

  involve     risk   distribution.    If       an   entity    does       not   distribute

  sufficient risk, its policies do not qualify as “insurance” for

  tax purposes.


        To     be    considered   “insurance,”          the        risk    distribution

  requirement for a particular subsidiary is satisfied if:


        1) The insurance premiums the subsidiary earned                         from its

             parent company accounted for less than 50 percent of the

             total insurance premiums that subsidiary earned during the

             tax year; and


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        2) The liability coverage the subsidiary provided to its

          parent company accounted for less than 50 percent of the

          total risk the subsidiary accepted.




          Knows or has Reason to Know


        The third element requires the person to know or have reason

  to know the statement was false or fraudulent. That is, the person

  must either actually know that a statement was false or fraudulent,

  or the person must have had reason to know that the statement was

  false or fraudulent, regardless of what the person actually knew

  or believed.


        To determine whether the person actually “knows” that a

  statement   was   false   or   fraudulent,   you    may   consider   all   the

  surrounding    facts   and     circumstances,     including   all    relevant

  testimony and exhibits received as evidence.




        The person has “reason to know” something that a reasonable

  person in that person’s position should have known or would have

  discovered. You may consider the person’s role in the business

  entity and the level of understanding required for such a role.

  You   may   consider   the     person’s   level    of   sophistication     and

  education, the person’s familiarity with tax matters, information
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  the person received from knowledgeable professionals, and any

  conflict of interest the professional may have had. You may infer

  that the person has knowledge of the law governing the tax benefits

  the person promotes.


             Material Statement


        The fourth element requires the statement to be material.           A

  statement is material if it would have a substantial impact on the

  decision-making    process    of   a   reasonably   prudent   investor.   A

  statement may be material even if the listener does not rely on

  the statement or participate in a transaction.




        If you find the United States has not proved any of these

  elements by a preponderance of the evidence as to a Plaintiff,

  then your verdict is for that Plaintiff.




        If you find the United States has proved each of these

  elements by a preponderance of the evidence as to RMC Property &

  Casualty, Ltd. or RMC Consultants, Ltd., or both, you do not need

  to determine the amount of the penalties against them.                  The

  calculation of such penalties is not disputed.




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        Calculation of Amount of Penalties


        But if you find the United States has proved each of these

  elements by a preponderance of the evidence as to Raymond Ankner

  or CJA & Associates, Inc., or both, you will be required to

  determine the amount of the penalties against them since the

  calculation of such penalties are disputed. Remember that you must

  presume that the penalty amounts that the United States assessed

  against Raymond Ankner and CJA & Associates, Inc. are correct. The

  monetary penalty is equal to 50 percent of the total gross income

  received or expected to be received from the plan or arrangement

  by the person on whom the penalty is imposed. Gross income means

  income without subtracting any expenses. Commissions related to

  captive insurance are included in gross income. Raymond Ankner and

  CJA   &    Associates,   Inc.   have        the   burden    of   proving   by    a

  preponderance    of   the   evidence    that      the   assessed     amounts    are

  incorrect.    They can do so by showing how much gross income they

  received or expected to receive from any involvement in a plan or

  arrangement for the pertinent tax year.


        If   you   conclude   that   either         Raymond   Ankner    or   CJA    &

  Associates, Inc. satisfied their burden, then you must recalculate

  the amount of their penalty.           You must find a penalty which is

  equal to 50 percent of the amount of gross income you determined

  the person to have received or expected to receive.

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        If you conclude that one or both of Raymond Ankner or CJA &

  Associates, Inc. failed to satisfy their burden, then you must

  find that the penalties are in the amounts assessed by the United

  States as to that person and you should not recalculate them.




        Concluding Instructions


        Your verdict must be unanimous – in other words, you must all

  agree. Your deliberations are secret, and you will never have to

  explain your verdict to anyone.


        Each of you must decide the case for yourself, but only after

  fully considering the evidence with the other jurors. So you must

  discuss the case with one another and try to reach an agreement.

  While you are discussing the case, do not hesitate to reexamine

  your own opinion and change your mind if you become convinced that

  you were wrong. But do not give up your honest beliefs just because

  others think differently or because you simply want to get the

  case over with.


        Remember that, in a very real way, you are judges – judges of

  the facts. Your only interest is to seek the truth from the

  evidence in the case.




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        When you get to the jury room, choose one of your members to

  act as foreperson. The foreperson will direct your deliberations

  and speak for you in court.

        A verdict form has been prepared for your convenience.

                              [Explain verdict]

        Take the verdict form with you to the jury room. When you

  have all agreed on the verdict, your foreperson must fill in the

  form, sign it and date it. Then you will return it to the courtroom.

        If you wish to communicate with me at any time, please write

  down your message or question and give it to the court security

  officer. The court security officer will bring it to me and I will

  respond as promptly as possible – either in writing or by talking

  to you in the courtroom. Please understand that I may have to talk

  to the lawyers and the parties before I respond to your question

  or message, so you should be patient as you await my response. But

  I caution you not to tell me how many jurors have voted one way or

  the other at that time. That type of information should remain in

  the jury room and not be shared with anyone, including me, in your

  note or question.




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